          Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 1 of 43 Page ID #:1230


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           10                               UNITED STATES DISTRICT COURT

           11                             CENTRAL DISTRICT OF CALIFORNIA

           12

           13    MICHAEL TERPIN,                             CASE NO. 2:18-CV-6975 (ODW)
           14                      Plaintiff,                DEFENDANT AT&T MOBILITY LLC’S
                                                             ANSWER TO PLAINTIFF’S SECOND
           15          v.                                    AMENDED COMPLAINT
           16    AT&T MOBILITY LLC, et al.,
                                                             Action Filed: August 15, 2018
           17                      Defendants.
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                                              CASE NO. 2:18-CV-6975 (ODW)
          Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 2 of 43 Page ID #:1231


            1           Defendant AT&T Mobility LLC (“AT&T”) hereby answers Michael Terpin’s (“Mr. Terpin” or
            2    “Plaintiff”) Second Amended Complaint. Any allegation not explicitly admitted is denied. AT&T
            3    does not, by noting or admitting that the Second Amended Complaint purports to characterize or quote
            4    particular documents, admit the truth of any assertion in the referenced document. Moreover, headings
            5    and footnotes contained within the Second Amended Complaint are not substantive allegations to
            6    which an answer is required. To the extent headings are substantive allegations to which an answer is
            7    required, AT&T denies the allegations. To the extent footnotes in the Second Amended Complaint are
            8    deemed to be substantive allegations, then the response to the paragraph in which the footnote is found
            9    is AT&T’s response to the footnote as well. In answer to the Second Amended Complaint, AT&T
           10    states as follows:
           11                         I. Response to Allegations Styled “Jurisdiction and Venue”
           12           1.      AT&T lacks knowledge or information sufficient to determine the truth of the
           13    allegations in Paragraph 1 of the Second Amended Complaint regarding Mr. Terpin’s domicile and
           14    residence. The remaining allegations in Paragraph 1 of the Second Amended Complaint contain legal
           15    conclusions that require no answer. To the extent that an answer is required, AT&T admits for purposes
           16    of this action only that the Court has subject matter jurisdiction over this action. AT&T notes that
           17    AT&T Inc. is not a Defendant in this case and was dismissed voluntarily by Plaintiff on August 23,
           18    2018. Except as expressly admitted, AT&T denies the allegations in Paragraph 1 of the Second
           19    Amended Complaint.
           20           2.      AT&T lacks knowledge or information sufficient to determine the truth of the
           21    allegations in the second and third sentences of Paragraph 2 of the Second Amended Complaint. AT&T
           22    denies that it violated Mr. Terpin’s privacy in any way. The allegations in the first and fourth sentences
           23    in Paragraph 2 of the Second Amended Complaint contain legal conclusions that require no answer.
           24    To the extent that an answer is required, AT&T admits for purposes of this action only that the Court
           25    has personal jurisdiction over AT&T and that venue is appropriate in this district. Except as expressly
           26    admitted, AT&T denies the allegations in Paragraph 2 of the Second Amended Complaint.
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                                                CASE NO. 2:18-CV-6975 (ODW)
          Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 3 of 43 Page ID #:1232


            1                            II. Response to Allegations Styled “Introduction”
            2           3.      AT&T admits that federal and state laws and regulations govern its conduct. AT&T
            3    also admits that it has its own Privacy Policy and Code of Business Conduct (“COBC”). Those laws,
            4    regulations, and policies speak for themselves, and AT&T denies any characterization or description
            5    that is inconsistent therewith. Except as expressly admitted, AT&T denies the allegations in Paragraph
            6    3 of the Second Amended Complaint.
            7           4.      AT&T notes that the FCC entered into a Consent Decree with AT&T Services, Inc.,
            8    which is not a party to this case. That Consent Decree speaks for itself, and AT&T denies any
            9    characterization or description that is inconsistent therewith. AT&T denies the remaining allegations
           10    in Paragraph 4 of the Second Amended Complaint.
           11           5.      AT&T denies the allegations in Paragraph 5 of the Second Amended Complaint.
           12           6.      AT&T admits that effecting a SIM change without authorization can be referred to as a
           13    “SIM swap.” AT&T lacks sufficient information to form a belief as to the truth of the remaining
           14    allegations in Paragraph 6, which refer to SIM changes and criminal hacking motivations and conduct
           15    in general and without reference to a specific incident, and on that basis denies the same. AT&T denies
           16    any remaining allegations in Paragraph 6 of the Second Amended Complaint.
           17           7.      AT&T denies the allegations in Paragraph 7 of the Second Amended Complaint.
           18           8.      AT&T lacks knowledge or information sufficient to form a belief as to the truth of the
           19    allegations in the last sentence of Paragraph 8 of the Second Amended Complaint, and, on that basis,
           20    it denies them. AT&T denies the remaining allegations in Paragraph 8 of the Second Amended
           21    Complaint.
           22           9.      AT&T admits that Exhibit F appears to be a copy of a criminal complaint in a case
           23    captioned United States v. White et al. That document speaks for itself. Except as expressly admitted,
           24    AT&T denies the allegations in Paragraph 9 of the Second Amended Complaint.
           25           10.     AT&T lacks knowledge or information sufficient to determine the truth of the
           26    allegations in Paragraph 10 of the Second Amended Complaint regarding Mr. Terpin’s expectations
           27    and beliefs, and on that basis denies the same. AT&T lacks knowledge or information sufficient to
           28    determine the truth of the allegations in Paragraph 10 of the Second Amended Complaint that Plaintiff

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                                                CASE NO. 2:18-CV-6975 (ODW)
          Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 4 of 43 Page ID #:1233


            1    experienced two hacks. AT&T denies any remaining allegations in Paragraph 10 of the Second
            2    Amended Complaint.
            3           11.    AT&T lacks knowledge or information sufficient to determine the truth regarding the
            4    actions of Smith or any alleged “gang of hackers,” and on that basis denies the same. AT&T denies
            5    the remaining allegations in Paragraph 11 of the Second Amended Complaint.
            6           12.    AT&T denies that any AT&T employee participated in the events alleged in Paragraph
            7    12 of the Second Amended Complaint. AT&T admits that two-factor authentication typically requires
            8    a person to provide two pieces of information to access the protected information. AT&T lacks
            9    sufficient knowledge or information to form a belief as to the truth of the remaining allegations in
           10    Paragraph 12, and on that basis denies the same.
           11           13.    AT&T denies the allegations in Paragraph 13 of the Second Amended Complaint.
           12           14.    AT&T lacks sufficient information to form a belief as to the truth of the allegations in
           13    Paragraph 14 regarding Mr. Terpin’s alleged communications with other individuals who experienced
           14    SIM swaps. The allegations in the second sentence of Paragraph 14 of the Second Amended Complaint
           15    are too vague for AT&T to form a belief as to the truth of the allegations, and, on that basis, AT&T
           16    denies them. AT&T denies the remaining allegations in Paragraph 14 of the Second Amended
           17    Complaint.
           18           15.    AT&T denies the allegations in Paragraph 15 of the Second Amended Complaint.
           19           16.    The allegations in the third and fourth sentences of Paragraph 16 of the Second
           20    Amended Complaint are too vague for AT&T to form a belief as to the truth of the allegations, and, on
           21    that basis, AT&T denies them. AT&T denies the remaining allegations in Paragraph 16 of the Second
           22    Amended Complaint.
           23           17.    The allegations in the first sentence of Paragraph 17 of the Second Amended Complaint
           24    are too vague for AT&T to form a belief as to the truth of the allegations and, on that basis, AT&T
           25    denies them. AT&T notes that the Court has dismissed Plaintiff’s demand for punitive damages.
           26    AT&T denies the remaining allegations in Paragraph 17 of the Second Amended Complaint.
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                                                CASE NO. 2:18-CV-6975 (ODW)
          Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 5 of 43 Page ID #:1234


            1                             III. Response to Allegations Styled “The Parties”
            2           18.     AT&T lacks knowledge or information sufficient to determine the truth of the
            3    allegations in the first sentence of Paragraph 18 of the Second Amended Complaint, and on that basis
            4    denies the same. AT&T lacks knowledge or information sufficient to form a belief as to the truth of
            5    the remaining allegations in Paragraph 18, which refer to cryptocurrency in general and without
            6    reference to a specific “holder of cryptocurrency” or type of cryptocurrency, and on that basis denies
            7    the same.
            8           19.     AT&T lacks knowledge or information sufficient to determine the truth of the
            9    allegations in Paragraph 19 of the Second Amended Complaint, and on that basis denies the same.
           10           20.     AT&T admits that it is a wholly owned subsidiary of AT&T Inc., a Delaware
           11    Corporation with its principal place of business in Dallas, Texas. AT&T admits it is a limited liability
           12    corporation with its principal place of business in Brookhaven, Georgia. AT&T further admits that it
           13    provides wireless service to subscribers in the United States, Puerto Rico, and the U.S. Virgin Islands.
           14    The remaining allegations of Paragraph 20 contain legal conclusions that require no answer. To the
           15    extent that an answer is required, AT&T notes that the FCA and related regulations speak for
           16    themselves, and denies any characterization or description that is inconsistent therewith. Except as
           17    expressly admitted, AT&T denies the allegations in Paragraph 20 of the Second Amended Complaint.
           18           21.     AT&T admits that it is a leading telecommunications provider in the United States.
           19    AT&T further admits that AT&T, Inc. is a holding company whose subsidiaries and affiliates operate
           20    in the communications and digital entertainment services industry. AT&T admits that its Form 8-K
           21    filed on October 24, 2017, indicated that, at September 30, 2017, AT&T Inc. and its subsidiaries and
           22    affiliates had 138.8 million domestic wireless subscribers. AT&T admits that its 2017 AT&T Earnings
           23    Investor Briefing provided that, in 2017, AT&T Inc. had consolidated revenues of $160.5 billion and
           24    total assets of $444,097,000,000. Except as expressly admitted, AT&T denies the allegations in
           25    Paragraph 21 of the Second Amended Complaint.
           26           22.     AT&T admits that it has entered into certain transactions in the past ten years. The
           27    terms of those transactions are set out in separate agreements, which speak for themselves. AT&T
           28    denies any characterization or description that is inconsistent therewith. AT&T lacks knowledge or

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                                                CASE NO. 2:18-CV-6975 (ODW)
          Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 6 of 43 Page ID #:1235


            1    information sufficient to form a belief as to the truth of the allegations of the second, third, or fourth
            2    sentences of the Second Amended Complaint and on that basis denies the same. AT&T denies the
            3    remaining allegations in Paragraph 22 of the Second Amended Complaint.
            4           23.     The allegations in the first sentence of Paragraph 23 of the Second Amended Complaint
            5    are too vague for AT&T to form a belief as to the truth of the allegations, and, on that basis, AT&T
            6    denies them. To the extent Paragraph 23 of the Second Amended Complaint purports to characterize
            7    and quote from an EFF article, that article speaks for itself, and AT&T denies any characterization or
            8    description that is inconsistent therewith. AT&T admits that it has engaged in communications with
            9    the FCC on multiple occasions regarding a variety of issues. Those communications speak for
           10    themselves. AT&T denies any remaining allegations in Paragraph 23 of the Second Amended
           11    Complaint.
           12           24.     The allegations in the first sentence of paragraph 24 of the Second Amended Complaint
           13    are too vague for AT&T to form a belief as to the truth of the allegations, and, on that basis, AT&T
           14    denies them. AT&T denies the remaining allegations in Paragraph 24 of the Second Amended
           15    Complaint.
           16           25.     AT&T denies the allegations in Paragraph 25 of the Second Amended Complaint.
           17           26.     AT&T denies the allegations in Paragraph 26 of the Second Amended Complaint.
           18           27.     Because the Court dismissed Does Eleven through Twenty Five, no response is required
           19    to Paragraph 27 of the Second Amended Complaint with regard to these parties. The allegations in
           20    Paragraph 27 of the Second Amended Complaint are too vague for AT&T to form a belief as to the
           21    truth of the allegations, and, on that basis, AT&T denies them.
           22                         IV. Response to Allegations Styled “Factual Allegations”
           23    A.     Response to Allegations Styled “AT&T’s Statutory Obligation To Protect Customers’
                        Personal Information Under The Federal Communications Act”
           24
                        28.     The allegations in Paragraph 28 contain legal conclusions that require no answer. To
           25
                 the extent that an answer is required, AT&T notes that the FCA speaks for itself, and denies any
           26
                 characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
           27
                 in Paragraph 28 of the Second Amended Complaint.
           28

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                                                CASE NO. 2:18-CV-6975 (ODW)
          Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 7 of 43 Page ID #:1236


            1           29.    The allegations in Paragraph 29 contain legal conclusions that require no answer. To
            2    the extent that an answer is required, AT&T notes that the FCA speaks for itself, and denies any
            3    characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
            4    in Paragraph 29 of the Second Amended Complaint.
            5           30.    The allegations in Paragraph 30 contain legal conclusions that require no answer. To
            6    the extent that an answer is required, AT&T notes that the FCA speaks for itself, and denies any
            7    characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
            8    in Paragraph 30 of the Second Amended Complaint.
            9           31.    The allegations in Paragraph 31 contain legal conclusions that require no answer. To
           10    the extent that an answer is required, AT&T notes that the FCA speaks for itself, and denies any
           11    characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
           12    in Paragraph 31 of the Second Amended Complaint.
           13           32.    The allegations in Paragraph 32 contain legal conclusions that require no answer. To
           14    the extent that an answer is required, AT&T notes that Paragraph 32 purports to characterize and quote
           15    from rules promulgated by the FCC to implement Section 222 of the FCA (“CPNI Rules”). The CPNI
           16    Rules speak for themselves, and AT&T denies any characterization or description that is inconsistent
           17    therewith.   AT&T denies any remaining allegations in Paragraph 32 of the Second Amended
           18    Complaint.
           19           33.    The allegations in Paragraph 33 contain legal conclusions that require no answer. To
           20    the extent that an answer is required, AT&T notes that Paragraph 33 purports to characterize and quote
           21    from the CPNI Rules. The CPNI Rules speak for themselves, and AT&T denies any characterization
           22    or description that is inconsistent therewith. AT&T denies any remaining allegations in Paragraph 33
           23    of the Second Amended Complaint.
           24           34.    The allegations in Paragraph 34 contain legal conclusions that require no answer. To
           25    the extent that an answer is required, AT&T notes that Paragraph 34 purports to characterize and quote
           26    from the CPNI Rules. The CPNI Rules speak for themselves, and AT&T denies any characterization
           27    or description that is inconsistent therewith. AT&T denies any remaining allegations in Paragraph 34
           28    of the Second Amended Complaint.

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                                                CASE NO. 2:18-CV-6975 (ODW)
          Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 8 of 43 Page ID #:1237


            1           35.    The allegations in Paragraph 35 contain legal conclusions that require no answer. To
            2    the extent that an answer is required, AT&T notes that Paragraph 35 purports to characterize and quote
            3    from an FCC order. That order speaks for itself and AT&T denies any characterization or description
            4    that is inconsistent therewith. AT&T denies any remaining allegations in Paragraph 35 of the Second
            5    Amended Complaint.
            6           36.    The allegations in Paragraph 36 contain legal conclusions that require no answer. To
            7    the extent that an answer is required, AT&T notes that Paragraph 36 purports to characterize and quote
            8    from an FCC order. That order speaks for itself and AT&T denies any characterization or description
            9    that is inconsistent therewith. AT&T denies any remaining allegations in Paragraph 36 of the Second
           10    Amended Complaint.
           11           37.    AT&T denies the allegations in Paragraph 37 of the Second Amended Complaint.
           12           38.    The allegations in the first sentence of Paragraph 38 of the Second Amended Complaint
           13    are too vague for AT&T to form a belief as to the truth of the allegations, and, on that basis, AT&T
           14    denies them. AT&T denies the remaining allegations in Paragraph 38 of the Second Amended
           15    Complaint.
           16    B.     Response to Allegations Styled “AT&T Employees’ Disclosure Of Customers’ Personal
                        Information And The April 8, 2015 FCC Consent Decree”
           17
                        39.    AT&T notes that the FCC entered into a Consent Decree with AT&T Services, Inc.,
           18
                 which is not a party to this case. That Consent Decree speaks for itself, and AT&T denies any
           19
                 characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
           20
                 in Paragraph 39 of the Second Amended Complaint.
           21
                        40.    AT&T notes that the FCC entered into a Consent Decree with AT&T Services, Inc.,
           22
                 which is not a party to this case. That Consent Decree speaks for itself, and AT&T denies any
           23
                 characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
           24
                 in Paragraph 40 of the Second Amended Complaint.
           25
                        41.    AT&T notes that the FCC entered into a Consent Decree with AT&T Services, Inc.,
           26
                 which is not a party to this case. That Consent Decree speaks for itself, and AT&T denies any
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                                                CASE NO. 2:18-CV-6975 (ODW)
          Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 9 of 43 Page ID #:1238


            1    characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
            2    in Paragraph 41 of the Second Amended Complaint.
            3           42.     AT&T notes that the FCC entered into a Consent Decree with AT&T Services, Inc.,
            4    which is not a party to this case. That Consent Decree speaks for itself, and AT&T denies any
            5    characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
            6    in Paragraph 42 of the Second Amended Complaint.
            7           43.     AT&T notes that the FCC entered into a Consent Decree with AT&T Services, Inc.,
            8    which is not a party to this case. That Consent Decree speaks for itself, and AT&T denies any
            9    characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
           10    in Paragraph 43 of the Second Amended Complaint.
           11           44.     AT&T notes that the FCC entered into a Consent Decree with AT&T Services, Inc.,
           12    which is not a party to this case. That Consent Decree speaks for itself, and AT&T denies any
           13    characterization or description that is inconsistent therewith. The allegations in Paragraph 44 contain
           14    legal conclusions that require no answer. To the extent that an answer is required, AT&T notes that
           15    the FCA speaks for itself, and denies any characterization or description that is inconsistent therewith.
           16    AT&T further notes that Paragraph 44 purports to characterize an FCC order. That order speaks for
           17    itself, and AT&T denies any characterization or description that is inconsistent therewith. AT&T denies
           18    any remaining allegations in Paragraph 44 of the Second Amended Complaint.
           19           45.     AT&T notes that the FCC entered into a Consent Decree with AT&T Services, Inc.,
           20    which is not a party to this case. That Consent Decree speaks for itself, and AT&T denies any
           21    characterization or description that is inconsistent therewith. The remaining allegations in Paragraph
           22    45 contain legal conclusions that require no answer. To the extent that an answer is required, AT&T
           23    notes that the FCA speaks for itself, and denies any characterization or description that is inconsistent
           24    therewith. AT&T further notes that Paragraph 45 purports to characterize an FCC order. That order
           25    speaks for itself, and AT&T denies any characterization or description that is inconsistent therewith.
           26    AT&T denies any remaining allegations in Paragraph 45 of the Second Amended Complaint.
           27           46.     AT&T notes that the FCC entered into a Consent Decree with AT&T Services, Inc.,
           28    which is not a party to this case. That Consent Decree speaks for itself, and AT&T denies any

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 10 of 43 Page ID #:1239


            1    characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
            2    in Paragraph 46 of the Second Amended Complaint.
            3           47.     AT&T notes that the FCC entered into a Consent Decree with AT&T Services, Inc.,
            4    which is not a party to this case. That Consent Decree speaks for itself, and AT&T denies any
            5    characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
            6    in Paragraph 47 of the Second Amended Complaint.
            7           48.     AT&T notes that the FCC entered into a Consent Decree with AT&T Services, Inc.,
            8    which is not a party to this case. That Consent Decree speaks for itself, and AT&T denies any
            9    characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
           10    in Paragraph 48 of the Second Amended Complaint.
           11           49.     AT&T notes that the FCC entered into a Consent Decree with AT&T Services, Inc.,
           12    which is not a party to this case. That Consent Decree speaks for itself, and AT&T denies any
           13    characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
           14    in Paragraph 49 of the Second Amended Complaint.
           15           50.     AT&T notes that the FCC entered into a Consent Decree with AT&T Services, Inc.,
           16    which is not a party to this case. That Consent Decree speaks for itself, and AT&T denies any
           17    characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
           18    in Paragraph 50 of the Second Amended Complaint.
           19           51.     AT&T notes that the FCC entered into a Consent Decree with AT&T Services, Inc.,
           20    which is not a party to this case. That Consent Decree speaks for itself, and AT&T denies any
           21    characterization or description that is inconsistent therewith. The allegations in Paragraph 51 contain
           22    legal conclusions that require no answer. To the extent that an answer is required, AT&T denies the
           23    allegations in Paragraph 51 of the Second Amended Complaint.
           24    C.     Response to Allegations Styled “AT&T’s Privacy And Security Commitments To
                        Customers In Its Privacy Policy And Code Of Business Conduct”
           25
                        52.     AT&T admits that it has a Privacy Policy and a COBC, and that Paragraph 52 of the
           26
                 Second Amended Complaint purports to quote and characterize that Privacy Policy and COBC. Those
           27
                 documents speak for themselves, and AT&T denies any characterization or description that is
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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 11 of 43 Page ID #:1240


            1    inconsistent therewith. AT&T denies the remaining allegations in Paragraph 52 of the Second
            2    Amended Complaint.
            3           53.    AT&T notes that Paragraph 53 purports to characterize AT&T’s Privacy Policy and
            4    COBC. Those documents speak for themselves, and AT&T denies any characterization or description
            5    that is inconsistent therewith. AT&T denies any remaining allegations in Paragraph 53 of the Second
            6    Amended Complaint.
            7           54.    AT&T notes that Paragraph 54 purports to characterize AT&T’s Privacy Policy. That
            8    document speaks for itself, and AT&T denies any characterization or description that is inconsistent
            9    therewith.   AT&T denies any remaining allegations in Paragraph 54 of the Second Amended
           10    Complaint.
           11           55.    AT&T notes that Paragraph 55 purports to characterize AT&T’s Privacy Policy. That
           12    document speaks for itself, and AT&T denies any characterization or description that is inconsistent
           13    therewith.   AT&T denies any remaining allegations in Paragraph 55 of the Second Amended
           14    Complaint.
           15           56.    The allegations in the first sentence of Paragraph 56 contain legal conclusions that
           16    require no answer. To the extent that an answer is required, AT&T denies the allegations in the first
           17    sentence of Paragraph 56. AT&T notes that the remaining allegations in Paragraph 56 purport to
           18    characterize AT&T’s COBC. That document speaks for itself, and AT&T denies any characterization
           19    or description that is inconsistent therewith. AT&T denies any remaining allegations in Paragraph 56
           20    of the Second Amended Complaint.
           21           57.    AT&T notes that Paragraph 57 purports to characterize AT&T’s COBC. That document
           22    speaks for itself, and AT&T denies any characterization or description that is inconsistent therewith.
           23    AT&T denies any remaining allegations in Paragraph 57 of the Second Amended Complaint.
           24           58.    AT&T notes that Paragraph 58 purports to characterize AT&T’s Privacy Policy. That
           25    document speaks for itself, and AT&T denies any characterization or description that is inconsistent
           26    therewith. AT&T denies the remaining allegations in Paragraph 58 of the Second Amended Complaint.
           27           59.    AT&T denies the allegations in Paragraph 59 of the Second Amended Complaint.
           28

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 12 of 43 Page ID #:1241


            1    D.     Response to Allegations Styled “The Prevalence Of SIM Card Swap Fraud”
            2           60.     AT&T admits that effecting a SIM change without authorization can be referred to as
            3    “SIM swapping.” Except as expressly admitted, AT&T denies the allegations in Paragraph 60 of the
            4    Second Amended Complaint.
            5           61.     AT&T admits that effecting a SIM change without authorization can be referred to as
            6    “SIM swapping.” AT&T lacks sufficient information to form a belief as to the truth of the remaining
            7    allegations in Paragraph 61, which refer to SIM changes and criminal hacking conduct in general and
            8    without reference to a specific incident, and on that basis denies the same. Except as expressly
            9    admitted, AT&T denies the allegations in Paragraph 61 of the Second Amended Complaint.
           10           62.     AT&T admits that two-factor authentication can be used to require a person to verify
           11    their identification through two means. AT&T lacks sufficient information to form a belief as to the
           12    truth of the remaining allegations in Paragraph 62, which refer to SIM changes and criminal hacking
           13    conduct in general and without reference to a specific incident, and on that basis denies the same.
           14    Except as expressly admitted, AT&T denies the allegations in Paragraph 62 of the Second Amended
           15    Complaint.
           16           63.     AT&T lacks sufficient information to form a belief as to the truth of the allegations in
           17    Paragraph 63, which refer to SIM changes and criminal hacking conduct in general and without
           18    reference to a specific incident, and on that basis denies the same.
           19           64.     AT&T lacks sufficient information to form a belief as to the truth of the allegations in
           20    Paragraph 64, which refer to SIM changes and criminal hacking conduct in general and without
           21    reference to a specific incident, and on that basis denies the same.
           22           65.     AT&T admits that Exhibit E purports to be an indictment in United States v. Freeman
           23    et al., Case No. 2:19-cr-20246 (E.D. Mich.). That document speaks for itself, and AT&T denies any
           24    characterization or description that is inconsistent therewith. Except as expressly admitted, AT&T
           25    denies the allegations in Paragraph 65 of the Second Amended Complaint.
           26           66.     AT&T notes that Paragraph 66 purports to quote from and characterize Exhibit E to the
           27    Second Amended Complaint. That document speaks for itself, and AT&T denies any characterization
           28

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 13 of 43 Page ID #:1242


            1    or description that is inconsistent therewith.   Except as expressly admitted, AT&T denies the
            2    allegations in Paragraph 66 of the Second Amended Complaint.
            3           67.    AT&T admits that Exhibit F purports to be a criminal complaint in United States v.
            4    White et al., Case No. 2:19-mj-30227 (E.D. Mich.). That document speaks for itself, and AT&T denies
            5    any characterization or description that is inconsistent therewith. Except as expressly admitted, AT&T
            6    denies the allegations in Paragraph 67 of the Second Amended Complaint.
            7           68.    AT&T notes that Paragraph 68 purports to characterize a Motherboard article and
            8    “highly publicized felony complaints.” Those documents speak for themselves, and AT&T denies any
            9    characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
           10    in Paragraph 68 of the Second Amended Complaint.
           11           69.    AT&T notes that Paragraph 69 purports to characterize several “Krebsonsecrity.com”
           12    articles. Those documents speak for themselves, and AT&T denies any characterization or description
           13    that is inconsistent therewith. AT&T denies any remaining allegations in Paragraph 69 of the Second
           14    Amended Complaint.
           15           70.    AT&T notes that Paragraph 70 purports to characterize and quote from a Motherboard
           16    article. That article speaks for itself, and AT&T denies any characterization or description that is
           17    inconsistent therewith. AT&T denies any remaining allegations in Paragraph 70 of the Second
           18    Amended Complaint.
           19           71.    AT&T notes that Paragraph 71 purports to characterize and quote from a
           20    “Krebsonsecurity.com” article. That article speaks for itself, and AT&T denies any characterization
           21    or description that is inconsistent therewith. AT&T denies any remaining allegations in Paragraph 71
           22    of the Second Amended Complaint.
           23           72.    AT&T lacks knowledge or information sufficient to determine the truth of the
           24    allegations in Paragraph 72 of the Second Amended Complaint, and, on that basis, denies the same.
           25           73.    The allegations in the second sentence of Paragraph 73 are too vague for AT&T to form
           26    a belief as to the truth of the allegations, and, on that basis, AT&T denies them. AT&T notes that
           27    Paragraph 73 purports to characterize a “Krebsonsecrity.com” article. That article speaks for itself,
           28

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 14 of 43 Page ID #:1243


            1    and AT&T denies any characterization or description that is inconsistent therewith. AT&T denies any
            2    remaining allegations in Paragraph 73.
            3           74.     Paragraph 74 purports to characterize a “Krebsonsecrity.com” article. That article
            4    speaks for itself, and AT&T denies any characterization or description that is inconsistent therewith.
            5    AT&T denies any remaining allegations in Paragraph 74.
            6           75.     Paragraph 75 purports to characterize the content of two locations on att.com. Those
            7    websites speak for themselves, and AT&T denies any characterization or description that is inconsistent
            8    therewith. AT&T denies the remaining allegations of Paragraph 75 of the Second Amended Complaint.
            9           76.     Paragraph 76 purports to characterize a “bitcoinist.com” article. That article speaks for
           10    itself, and AT&T denies any characterization or description that is inconsistent therewith. AT&T
           11    denies the remaining allegations in Paragraph 76 of the Second Amended Complaint.
           12           77.     Paragraph 77 purports to characterize articles from “Krebsonsecrity.com” and
           13    Motherboard.     Those articles speak for themselves, and AT&T denies any characterization or
           14    description that is inconsistent therewith. AT&T denies the remaining allegations in Paragraph 77 of
           15    the Second Amended Complaint.
           16           78.     Paragraph 78 purports to characterize and quote from a Motherboard article. That
           17    article speaks for itself, and AT&T denies any characterization or description that is inconsistent
           18    therewith. AT&T denies the remaining allegations in Paragraph 78 of the Second Amended Complaint.
           19           79.     AT&T denies the allegations in Paragraph 79 of the Second Amended Complaint.
           20           80.     AT&T lacks information or knowledge sufficient to form a belief as to the truth of the
           21    allegations in Paragraph 80 of the Second Amended Complaint, and, on that basis, it denies them.
           22           81.     Paragraph 81 purports to characterize articles from “Krebsonsecrity.com.” That article
           23    speaks for itself, and AT&T denies any characterization or description that is inconsistent therewith.
           24    AT&T denies any remaining allegations in Paragraph 81 of the Second Amended Complaint.
           25           82.     Paragraph 82 purports to quote from an article from “Krebsonsecrity.com.” That article
           26    speaks for itself, and AT&T denies any characterization or description that is inconsistent therewith.
           27    AT&T denies any remaining allegations in Paragraph 82 of the Second Amended Complaint.
           28

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                                                 CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 15 of 43 Page ID #:1244


            1           83.     The allegations in the first two sentences of Paragraph 83 are too vague for AT&T to
            2    form a belief as to the truth of the allegations and, on that basis, AT&T denies them. AT&T notes that
            3    Paragraph 83 purports to characterize and quote from a Motherboard article. That article speaks for
            4    itself, and AT&T denies any characterization or description that is inconsistent therewith. AT&T
            5    denies any remaining allegations in Paragraph 83 of the Second Amended Complaint.
            6           84.     The allegations in the Paragraph 84 are too vague for AT&T to form a belief as to the
            7    truth of the allegations and, on that basis, AT&T denies them.
            8           85.     AT&T denies the allegations in Paragraph 85 of the Second Amended Complaint.
            9    E.     Response to Allegations Styled “The June 11, 2017 Hack”
           10           86.     AT&T admits that a SIM swap occurred with respect to Mr. Terpin’s telephone number
           11    on or about June 11, 2017. AT&T lacks knowledge or information sufficient to form a belief as to the
           12    truth of the remaining allegations in Paragraph 86 of the Second Amended Complaint, and on that basis
           13    denies the same.
           14           87.     AT&T lacks knowledge or information sufficient to form a belief as to the truth of the
           15    allegations in Paragraph 87 of the Second Amended Complaint, and on that basis denies the same.
           16           88.     AT&T admits that Mr. Terpin visited an AT&T retail store in San Juan, Puerto Rico, on
           17    or about June 13, 2017, where he met with a retail sales consultant. AT&T lacks knowledge or
           18    information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 88 of
           19    the Second Amended Complaint, and on that basis denies the same.
           20           89.     AT&T admits that Mr. Terpin visited an AT&T retail store in San Juan, Puerto Rico,
           21    on or about June 13, 2017, where he met with a retail sales consultant. AT&T lacks knowledge or
           22    information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 88 of
           23    the Second Amended Complaint, and on that basis denies the same.
           24           90.     The allegations in the first sentence of Paragraph 90 of the Second Amended Complaint
           25    are too vague for AT&T to form a belief as to the truth of the allegations and, on that basis, AT&T
           26    denies them. AT&T notes that Paragraph 90 purports to quote from Mr. Huntley’s biography on the
           27    AT&T website. That biography speaks for itself, and AT&T denies any characterization or description
           28

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 16 of 43 Page ID #:1245


            1    that is inconsistent therewith. AT&T denies any remaining allegations in Paragraph 90 of the Second
            2    Amended Complaint.
            3           91.    The allegations in the first, third, fourth, and fifth sentences of Paragraph 91 of the
            4    Second Amended Complaint are too vague for AT&T to form a belief as to the truth of the allegations
            5    and, on that basis, AT&T denies them. AT&T denies the allegations in the second sentence of
            6    Paragraph 91. AT&T notes that the sixth sentence of Paragraph 91 purports to characterize and quote
            7    from an article on AT&T’s website.        That website speaks for itself, and AT&T denies any
            8    characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
            9    in Paragraph 91 of the Second Amended Complaint.
           10           92.    AT&T lacks knowledge or information sufficient to form a belief as to the truth of the
           11    allegations in the first and fourth sentences of Paragraph 92 of the Second Amended Complaint, and
           12    on that basis denies the same. AT&T denies the remaining allegation in Paragraph 92.
           13           93.    AT&T denies the allegations of Paragraph 93 of the Second Amended Complaint.
           14    F.     Response to Allegations Styled “The January 7, 2018 Sim Swap Fraud”
           15           94.    AT&T admits that, on or about January 7, 2018, Mr. Terpin’s number was changed to
           16    a new SIM card. AT&T denies the remaining allegations in Paragraph 94 of the Second Amended
           17    Complaint.
           18           95.    AT&T admits that, on or about January 7, 2018, Mr. Terpin’s number was changed to
           19    a new SIM card. AT&T lacks knowledge or information sufficient to determine the truth of the
           20    allegations in the second, fourth, and fifth sentences of Paragraph 95 of the Second Amended
           21    Complaint, and on that basis denies the same. AT&T denies the remaining allegations in Paragraph 95
           22    of the Second Amended Complaint.
           23           96.    AT&T lacks knowledge or information sufficient to determine the truth of the
           24    allegations in Paragraph 96 of the Second Amended Complaint, and on that basis denies the same.
           25           97.    AT&T lacks knowledge or information sufficient to determine the truth of the
           26    allegations in Paragraph 97 of the Second Amended Complaint, and on that basis denies the same.
           27           98.    AT&T denies the allegations in Paragraph 98 of the Second Amended Complaint.
           28           99.    AT&T denies the allegations in Paragraph 99 of the Second Amended Complaint.

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                                               CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 17 of 43 Page ID #:1246


            1           100.   AT&T denies the allegations in Paragraph 100 of the Second Amended Complaint.
            2           101.   AT&T denies the allegations in Paragraph 101 of the Second Amended Complaint.
            3           102.   AT&T lacks knowledge or information sufficient to form a belief as to the truth of the
            4    allegations in Paragraph 102 of the Second Amended Complaint, and, on that basis, it denies them.
            5           103.   AT&T denies that any AT&T employee engaged in the alleged conduct and denies any
            6    remaining allegations in Paragraph 103 of the Second Amended Complaint.
            7    G.     Response to Allegations Styled “Mr. Terpin’s Special Relationship With AT&T”
            8           104.   The allegations in the first three sentences of Paragraph 104 contain legal conclusions
            9    that require no answer. To the extent that an answer is required, AT&T denies the allegations in the
           10    first three sentence of Paragraph 104. AT&T admits that it provides wireless telecommunication
           11    products and services. The remaining allegations of the last sentence of Paragraph 104 are too vague
           12    for AT&T to form a belief as to the truth of those allegations and, on that basis, AT&T denies them.
           13    Except as expressly admitted, AT&T denies the allegations in Paragraph 104 of the Second Amended
           14    Complaint.
           15           105.   The allegations in Paragraph 105 contain legal conclusions that require no answer. To
           16    the extent that an answer is required, AT&T denies the allegations in Paragraph 105 of the Second
           17    Amended Complaint.
           18           106.   The allegations in Paragraph 106 contain legal conclusions that require no answer. To
           19    the extent that an answer is required, AT&T denies allegations in Paragraph 106 of the Second
           20    Amended Complaint.
           21           107.    AT&T lacks knowledge or information sufficient for form a belief as to the truth of the
           22    allegations in Paragraph 107 of the Second Amended Complaint, and on that basis denies them.
           23           108.   The allegations in Paragraph 108 contain legal conclusions that require no answer. To
           24    the extent that an answer is required, AT&T denies the allegations in Paragraph 108 of the Second
           25    Amended Complaint.
           26           109.   The allegations in Paragraph 109 contain legal conclusions that require no answer. To
           27    the extent that an answer is required, AT&T denies the allegations in Paragraph 109 of the Second
           28    Amended Complaint.

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 18 of 43 Page ID #:1247


            1           110.    The allegations in Paragraph 110 contain legal conclusions that require no answer. To
            2    the extent that an answer is required, AT&T denies the allegations in Paragraph 110 of the Second
            3    Amended Complaint.
            4                            V. Response to Allegations for “Claims for Relief”
            5    A.     First Claim For Relief – Declaratory Relief: Unenforceability of AT&T Consumer
                        Agreement as Unconscionable and Contrary to Public Policy
            6
                        111.    AT&T admits that Mr. Terpin purports to bring a claim for declaratory relief under 28
            7
                 U.S.C. § 2201. AT&T denies that Mr. Terpin is entitled to this or any other relief. AT&T denies any
            8
                 remaining allegations in Paragraph 111 of the Second Amended Complaint.
            9
                        112.    AT&T denies the allegations in the first sentence of Paragraph 112 of the Second
           10
                 Amended Complaint. AT&T lacks knowledge or information sufficient to form a belief as to the truth
           11
                 of the remaining allegations of Paragraph 112, and, on that basis, it denies them.
           12
                        113.    AT&T admits that it uses a standard Wireless Customer Agreement for many of its
           13
                 customers. Except as expressly admitted, AT&T denies the allegations in Paragraph 113 of the Second
           14
                 Amended Complaint.
           15
                        114.    AT&T admits that it uses a standard Wireless Customer Agreement for many of its
           16
                 customers. AT&T admits that Exhibit D appears to be a copy of the Wireless Customer Agreement
           17
                 V03022017. That Agreement speaks for itself, and AT&T denies any characterization or description
           18
                 that is inconsistent therewith. The allegations in the third sentence of Paragraph 114 of the Second
           19
                 Amended Complaint contains legal conclusions that require no answer. To the extent that an answer
           20
                 is required, AT&T denies the allegations in the third sentence of Paragraph 114 of the Second Amended
           21
                 Complaint. AT&T denies any remaining allegations in Paragraph 114 of the Second Amended
           22
                 Complaint.
           23
                        115.    Paragraph 115 of the Second Amended Complaint purports to characterize and quote
           24
                 from the Wireless Customer Agreement. That agreement speaks for itself, and AT&T denies any
           25
                 characterization or description that is inconsistent therewith. AT&T denies the remaining allegations
           26
                 in Paragraph 115 of the Second Amended Complaint.
           27

           28

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 19 of 43 Page ID #:1248


            1           116.    Paragraph 116 of the Second Amended Complaint contains legal conclusions that
            2    require no answer. To the extent that an answer is required, AT&T denies the allegations in Paragraph
            3    116 of the Second Amended Complaint.
            4           117.    Paragraph 117 of the Second Amended Complaint purports to characterize the Wireless
            5    Customer Agreement. That agreement speaks for itself, and AT&T denies any characterization or
            6    description that is inconsistent therewith. The allegations in Paragraph 117 contain legal conclusions
            7    that require no answer. To the extent that an answer is required, AT&T denies the allegations in
            8    Paragraph 117 of the Second Amended Complaint.
            9           118.    AT&T notes that Paragraph 118 of the Second Amended Complaint purports to
           10    characterize and quote from the Agreement. That agreement speaks for itself, and AT&T denies any
           11    characterization or description that is inconsistent therewith. The allegations in Paragraph 118 contain
           12    legal conclusions that require no answer. To the extent that an answer is required, AT&T denies the
           13    remaining allegations in Paragraph 118 of the Second Amended Complaint.
           14           119.    The allegations in Paragraph 119 contain legal conclusions that require no answer. To
           15    the extent that an answer is required, AT&T notes that Paragraph 119 purports to quote from and
           16    characterize the Wireless Customer Agreement. That agreement speaks for itself, and AT&T denies
           17    any characterization or description that is inconsistent therewith. AT&T further denies that the
           18    Agreement is unenforceable, against public policy, or otherwise unlawful. AT&T further denies that
           19    it violated any statutory duties or promises or engaged in any other conduct relative to Mr. Terpin that
           20    was unlawful or caused him harm.
           21           120.    AT&T notes that Paragraph 120 of the Second Amended Complaint purports to
           22    characterize and quote from the Agreement. That agreement speaks for itself, and AT&T denies any
           23    characterization or description that is inconsistent therewith.
           24           121.    AT&T notes that Paragraph 121 of the Second Amended Complaint purports to
           25    characterize and quote from the Agreement. That agreement speaks for itself, and AT&T denies any
           26    characterization or description that is inconsistent therewith. The allegations in Paragraph 121 contain
           27    legal conclusions that require no answer. To the extent that an answer is required, AT&T denies that
           28

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 20 of 43 Page ID #:1249


            1    the Damages Restriction is void under Cal. Civ. Code § 1668 or § 1670.5 or under any other law or
            2    policy.
            3              122.   AT&T notes that Paragraph 122 of the Second Amended Complaint purports to
            4    characterize and quote from the Agreement. That agreement speaks for itself, and AT&T denies any
            5    characterization or description that is inconsistent therewith. The allegations in Paragraph 122 contain
            6    legal conclusions that require no answer. To the extent that an answer is required, AT&T denies that
            7    the Exculpatory Provision is invalid under Civil Code § 1670.5 or under any other law or policy.
            8              123.   The allegations in Paragraph 123 contain legal conclusions that require no answer. To
            9    the extent that an answer is required, AT&T denies the allegations in Paragraph 123 of the Second
           10    Amended Complaint.
           11              124.   The allegations in Paragraph 124 contain legal conclusions that require no answer. To
           12    the extent that an answer is required, AT&T denies the allegations in Paragraph 124 of the Second
           13    Amended Complaint.
           14              125.   AT&T notes that Paragraph 125 of the Second Amended Complaint purports to
           15    characterize and quote from the Agreement. That agreement speaks for itself, and AT&T denies any
           16    characterization or description that is inconsistent therewith. The first sentence of Paragraph 125
           17    contain legal conclusions that require no answer. To the extent that an answer is required, AT&T
           18    denies that the Agreement is unenforceable for the reason stated or any other reason.
           19              126.   AT&T notes that Paragraph 126 of the Second Amended Complaint purports to
           20    characterize and quote from the Agreement. That agreement speaks for itself, and AT&T denies any
           21    characterization or description that is inconsistent therewith. Paragraph 125 contains legal conclusions
           22    that require no answer. To the extent that an answer is required, AT&T denies that the Indemnity or
           23    the Agreement is a contract of adhesion or that it is unconscionable or unenforceable for the reason
           24    stated or any other reason.
           25              127.   The allegations in Paragraph 127 contain legal conclusions that require no answer. To
           26    the extent that an answer is required, AT&T denies the allegations in Paragraph 127 of the Second
           27    Amended Complaint.
           28

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                                                   CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 21 of 43 Page ID #:1250


            1           128.    AT&T notes that Paragraph 128 of the Second Amended Complaint purports to
            2    characterize from the Agreement.        That agreement speaks for itself, and AT&T denies any
            3    characterization or description that is inconsistent therewith. The allegations in Paragraph 128 contain
            4    legal conclusions that require no answer. To the extent that an answer is required, AT&T denies that
            5    the Arbitration Provision or the Agreement is unenforceable for the reason stated or any other reason.
            6           129.    The allegations in Paragraph 129 contain legal conclusions that require no answer. To
            7    the extent that an answer is required, AT&T denies that any defense raised by Mr. Terpin provides a
            8    basis to find the Agreement unenforceable, void, or unlawful and denies that the defenses described in
            9    Paragraph 129 apply to the Agreement.
           10           130.    The allegations in Paragraph 130 contain legal conclusions that require no answer. To
           11    the extent that an answer is required, AT&T denies that there is an actionable and justiciable
           12    controversy between Mr. Terpin and AT&T with respect to the enforceability of the Agreement and
           13    denies that the Agreement is unconscionable or void against public policy for the reason stated in
           14    Paragraph 130 or any other reason.
           15           131.    The allegations in Paragraph 131 contain legal conclusions that require no answer. To
           16    the extent that an answer is required, AT&T denies the allegations in Paragraph 131 of the Second
           17    Amended Complaint.
           18           132.    AT&T admits that Plaintiff purports to seek the relief described in Paragraph 132 of the
           19    Second Amended Complaint. AT&T denies that Plaintiff is entitled to any relief and denies any
           20    remaining allegations in Paragraph 132 of the Second Amended Complaint.
           21    B.     Second Claim for Relief – Unauthorized Disclosure of Customer Confidential
                        Proprietary Information and Proprietary Network Information, Federal
           22
                        Communications Act, 47 U.S.C. §§ 206, 222
           23           133.    AT&T repeats and incorporates by reference each and every denial, admission, and
           24    averment set forth in Paragraphs 1 through 132 above as though fully set forth herein.
           25           134.    The allegations in Paragraph 134 contain legal conclusions that require no answer. To
           26    the extent that an answer is required, AT&T admits that it is subject to regulation under the Federal
           27    Communications Act (“FCA”). The FCA speaks for itself, and AT&T denies any characterization or
           28

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 22 of 43 Page ID #:1251


            1    description that is inconsistent therewith. AT&T denies the remaining allegations in Paragraph 134 of
            2    the Second Amended Complaint.
            3           135.     Paragraph 135 of the Second Amended Complaint purports to quote from the FCA.
            4    That law speaks for itself, and AT&T denies any characterization or description that is inconsistent
            5    therewith.    AT&T denies the remaining allegations in Paragraph 135 of the Second Amended
            6    Complaint.
            7           136.     Paragraph 136 of the Second Amended Complaint purports to quote from the FCA.
            8    That law speaks for itself, and AT&T denies any characterization or description that is inconsistent
            9    therewith. AT&T denies any remaining allegations in Paragraph 136 of the Second Amended
           10    Complaint.
           11           137.     Paragraph 137 of the Second Amended Complaint purports to quote from the FCA.
           12    That law speaks for itself, and AT&T denies any characterization or description that is inconsistent
           13    therewith. AT&T denies any remaining allegations in Paragraph 137 of the Second Amended
           14    Complaint.
           15           138.     AT&T denies the allegations in Paragraph 138 of the Second Amended Complaint.
           16           139.     AT&T lacks knowledge or information sufficient to form a belief as to the truth of the
           17    allegations in the last sentence of Paragraph 139, and, on that basis, it denies them. AT&T denies the
           18    remaining allegations in Paragraph 139 of the Second Amended Complaint.
           19           140.     The second sentence of Paragraph 140 of the Second Amended Complaint contains legal
           20    conclusions that require no answer.       To the extent an answer is required, AT&T repeats and
           21    reincorporates by reference each and every denial, admission, and averment set forth in the cited
           22    paragraphs of the Second Amended Complaint as though fully set forth herein, and denies the
           23    allegations in the second sentence of paragraph 140 of the Second Amended Complaint. AT&T denies
           24    the remaining allegations in Paragraph 140 of the Second Amended Complaint.
           25           141.     The allegations in Paragraph 141 contain legal conclusions that require no answer. To
           26    the extent that an answer is required, AT&T denies that Plaintiff is entitled to any relief and denies any
           27    remaining allegations in Paragraph 141 of the Second Amended Complaint.
           28

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                                                 CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 23 of 43 Page ID #:1252


            1    C.     Third Claim for Relief – Deceit by Concealment, Cal. Civ. Code § § 1709, 1710
            2           142.    Because the Court dismissed Claim 3, no response is required to Paragraph 142 of the

            3    Second Amended Complaint. To the extent a response is required, AT&T repeats and incorporates by

            4    reference each and every denial, admission, and averment set forth in Paragraphs 1 through 141 above

            5    as though fully set forth herein.

            6           143.    Because the Court dismissed Claim 3, no response is required to Paragraph 143 of the

            7    Second Amended Complaint. To the extent a response is required, AT&T denies the allegations in

            8    Paragraph 143 of the Second Amended Complaint.

            9           144.    Because the Court dismissed Claim 3, no response is required to Paragraph 144 of the

           10    Second Amended Complaint. To the extent a response is required, AT&T denies the allegations in

           11    Paragraph 144 of the Second Amended Complaint.

           12           145.    Because the Court dismissed Count 3, no response is required to Paragraph 145 of the

           13    Second Amended Complaint. To the extent a response is required, AT&T denies the allegations in

           14    Paragraph 145 of the Second Amended Complaint.

           15           146.    Because the Court dismissed Count 3, no response is required to Paragraph 146 of the

           16    Second Amended Complaint. To the extent a response is required, AT&T denies the allegations in

           17    Paragraph 146 of the Second Amended Complaint.

           18           147.    Because the Court dismissed Count 3, no response is required to Paragraph 147 of the

           19    Second Amended Complaint. To the extent a response is required, AT&T notes that Paragraph 147 of

           20    the Second Amended Complaint purports to quote from and characterize AT&T’s Privacy Policy. That

           21    document speaks for itself, and AT&T denies any characterization or description that is inconsistent

           22    therewith. To the extent a response is required, AT&T denies the remaining allegations in Paragraph

           23    147 of the Second Amended Complaint.

           24           148.    Because the Court dismissed Count 3, no response is required to Paragraph 148 of the

           25    Second Amended Complaint. To the extent a response is required, AT&T states that the allegations of

           26    Paragraph 148 are too vague for AT&T to form a belief as to the truth of those allegations and, on that

           27    basis, AT&T denies them. AT&T further denies that any AT&T employee was involved in the alleged

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 24 of 43 Page ID #:1253


            1    SIM swap. AT&T denies any remaining allegations in Paragraph 148 of the Second Amended
            2    Complaint.
            3           149.    Because the Court dismissed Count 3, no response is required to Paragraph 149 of the
            4    Second Amended Complaint. To the extent a response is required, AT&T denies the allegations in
            5    Paragraph 149 of the Second Amended Complaint.
            6           150.    Because the Court dismissed Count 3, no response is required to Paragraph 150 of the
            7    Second Amended Complaint. To the extent a response is required, AT&T denies the allegations in
            8    Paragraph 150 of the Second Amended Complaint.
            9           151.    Because the Court dismissed Count 3, no response is required to Paragraph 151 of the
           10    Second Amended Complaint. To the extent a response is required, AT&T denies the allegations in
           11    Paragraph 151 of the Second Amended Complaint.
           12           152.    Because the Court dismissed Count 3, no response is required to Paragraph 152 of the
           13    Second Amended Complaint. To the extent a response is required, AT&T denies the allegations in
           14    Paragraph 152 of the Second Amended Complaint.
           15           153.    Because the Court dismissed Count 3, no response is required to Paragraph 153 of the
           16    Second Amended Complaint. To the extent a response is required, AT&T denies the allegations in
           17    Paragraph 153 of the Second Amended Complaint.
           18           154.    Because the Court dismissed Count 3, no response is required to Paragraph 154 of the
           19    Second Amended Complaint. To the extent a response is required, AT&T denies the allegations in
           20    Paragraph 154 of the Second Amended Complaint.
           21           155.    Because the Court dismissed Count 3, no response is required to Paragraph 155 of the
           22    Second Amended Complaint. Moreover, the second sentence of Paragraph 155 of the Second
           23    Amended Complaint contains legal conclusions that require no answer. To the extent an answer is
           24    required, AT&T repeats and reincorporates by reference each and every denial, admission, and
           25    averment set forth in the cited paragraphs of the Second Amended Complaint as though fully set forth
           26    herein. Further, AT&T lacks knowledge or information sufficient to form a belief as to the truth of the
           27    allegations in the third sentence of Paragraph 155 and, on that basis, AT&T denies them. AT&T denies
           28    the remaining allegations in Paragraph 155 of the Second Amended Complaint.

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 25 of 43 Page ID #:1254


            1           156.    Because the Court dismissed Count 3, no response is required to Paragraph 156 of the
            2    Second Amended Complaint. To the extent a response is required, AT&T admits that Plaintiff purports
            3    to seek the relief described in Paragraph 156 of the Second Amended Complaint. AT&T denies that
            4    Plaintiff is entitled to any relief whatsoever and denies any remaining allegations in Paragraph 156 of
            5    the Second Amended Complaint.
            6    D.     Fourth Claim for Relief – Misrepresentation
            7           157.    Because the Court dismissed Claim 4, no response is required to Paragraph 157 of the
            8    Second Amended Complaint. To the extent a response is required, AT&T repeats and incorporates by
            9    reference each and every denial, admission, and averment set forth in Paragraphs 1 through 156 above
           10    as though fully set forth herein.
           11           158.    Because the Court dismissed Claim 4, no response is required to Paragraph 158 of the
           12    Second Amended Complaint. Moreover, Paragraph 158 contains legal conclusions to which no
           13    response is required. To the extent a response is required, AT&T repeats and reincorporates by
           14    reference each and every denial, admission, and averment set forth in the cited paragraphs of the Second
           15    Amended Complaint as though fully set forth herein, and denies the allegations in Paragraph 158 of
           16    the Second Amended Complaint.
           17           159.    Because the Court dismissed Claim 4, no response is required to Paragraph 159 of the
           18    Second Amended Complaint. To the extent a response is required, AT&T denies the allegations in
           19    Paragraph 159 of the Second Amended Complaint.
           20           160.    Because the Court dismissed Claim 4, no response is required to Paragraph 160 of the
           21    Second Amended Complaint. To the extent a response is required, AT&T denies the allegations in
           22    Paragraph 160 of the Second Amended Complaint.
           23           161.    Because the Court dismissed Claim 4, no response is required to Paragraph 161 of the
           24    Second Amended Complaint. To the extent a response is required, AT&T denies the allegations in
           25    Paragraph 161 of the Second Amended Complaint.
           26           162.    Because the Court dismissed Claim 4, no response is required to Paragraph 162 of the
           27    Second Amended Complaint. To the extent a response is required, AT&T denies the allegations in
           28    Paragraph 162 of the Second Amended Complaint.

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 26 of 43 Page ID #:1255


            1           163.    Because the Court dismissed Claim 4, no response is required to Paragraph 163 of the
            2    Second Amended Complaint. Moreover, the second sentence of Paragraph 163 of the Second
            3    Amended Complaint contains legal conclusions that require no answer. To the extent an answer is
            4    required, AT&T repeats and reincorporates by reference each and every denial, admission, and
            5    averment set forth in the cited paragraphs of the Second Amended Complaint as though fully set forth
            6    herein, and denies any remaining allegations in Paragraph 163 of the Second Amended Complaint.
            7           164.    Because the Court dismissed Count 4, no response is required to Paragraph 164 of the
            8    Second Amended Complaint. To the extent a response is required, AT&T admits that Plaintiff purports
            9    to seek the relief described in Paragraph 164 of the Second Amended Complaint. AT&T denies that
           10    Plaintiff is entitled to any relief whatsoever and denies any remaining allegations in Paragraph 164 of
           11    the Second Amended Complaint.
           12           165.    Because the Court dismissed Count 4, no response is required to Paragraph 165 of the
           13    Second Amended Complaint. To the extent a response is required, AT&T denies the allegations in
           14    Paragraph 165 of the Second Amended Complaint.
           15    E.     Fifth Claim for Relief – Negligence
           16           166.    AT&T repeats and incorporates by reference each and every denial, admission, and
           17    averment set forth in Paragraphs 1 through 165 above as though fully set forth herein.
           18           167.    Paragraph 167 of the Second Amended Complaint contains legal conclusions to which
           19    no response is required. To the extent a response is required, AT&T repeats and reincorporates by
           20    reference each and every denial, admission, and averment set forth in the cited paragraphs of the Second
           21    Amended Complaint as though fully set forth herein, and denies the allegations in Paragraph 167 of
           22    the Second Amended Complaint.
           23           168.    Paragraph 168 of the Second Amended Complaint contains legal conclusions to which
           24    no response is required. To the extent a response is required, AT&T denies the allegations in Paragraph
           25    168 of the Second Amended Complaint.
           26           169.    The allegations in the first sentence of Paragraph 169 are too vague for AT&T to form
           27    a belief as to the truth of those allegations and, on that basis, AT&T denies them. AT&T’s Privacy
           28    Policy and website speak for themselves, and AT&T denies any characterization or description that is

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 27 of 43 Page ID #:1256


            1    inconsistent therewith. AT&T denies the remaining allegations in Paragraph 169 of the Second
            2    Amended Complaint.
            3           170.    The first sentence of Paragraph 170 of the Second Amended Complaint contains legal
            4    conclusions to which no response is required. To the extent a response is required, AT&T denies the
            5    allegations in the first sentence of Paragraph 170 of the Second Amended Complaint. AT&T lacks
            6    knowledge or information sufficient to form a belief as to the truth of the allegations in the second
            7    sentence of Paragraph 170, and on that basis denies them. AT&T denies the remaining allegations of
            8    Paragraph 170 of the Second Amended Complaint.
            9           171.    Paragraph 171 of the Second Amended Complaint contains legal conclusions to which
           10    no response is required. To the extent a response is required, AT&T denies the allegations in Paragraph
           11    171 of the Second Amended Complaint.
           12           172.    Paragraph 172 of the Second Amended Complaint contains legal conclusions to which
           13    no response is required. To the extent a response is required, AT&T denies the allegations in Paragraph
           14    172 of the Second Amended Complaint.
           15           173.    Paragraph 173 of the Second Amended Complaint contains legal conclusions to which
           16    no response is required. To the extent a response is required, AT&T repeats and reincorporates by
           17    reference each and every denial, admission, and averment set forth in the cited paragraphs of the Second
           18    Amended Complaint as though fully set forth herein, and AT&T denies the remaining allegations in
           19    Paragraph 173 of the Second Amended Complaint.
           20           174.    Paragraph 174 of the Second Amended Complaint contains legal conclusions to which
           21    no response is required. To the extent a response is required, AT&T denies the allegations in Paragraph
           22    174 of the Second Amended Complaint.
           23           175.    Because the Court dismissed Mr. Terpin’s request for punitive damages, no response is
           24    required to Paragraph 175 of the Second Amended Complaint. To the extent a response is required,
           25    AT&T denies that Mr. Terpin is entitled to any relief whatsoever and denies the allegations in
           26    Paragraph 175 of the Second Amended Complaint.
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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 28 of 43 Page ID #:1257


            1           176.    Because the Court dismissed Mr. Terpin’s request for punitive damages, no response is
            2    required to Paragraph 176 of the Second Amended Complaint. To the extent a response is required,
            3    AT&T denies the allegations in Paragraph 176 of the Second Amended Complaint.
            4    F.     Sixth Claim for Relief – Negligent Supervision and Training
            5           177.    AT&T repeats and incorporates by reference each and every denial, admission, and
            6    averment set forth in Paragraphs 1 through 176 above as though fully set forth herein.
            7           178.    Paragraph 178 of the Second Amended Complaint contains legal conclusions to which
            8    no response is required. To the extent a response is required, AT&T repeats and reincorporates by
            9    reference each and every denial, admission, and averment set forth in the cited paragraphs of the Second
           10    Amended Complaint as though fully set forth herein, and AT&T denies the allegations in Paragraph
           11    178 of the Second Amended Complaint.
           12           179.    Paragraph 179 of the Second Amended Complaint contains legal conclusions to which
           13    no response is required. To the extent a response is required, AT&T denies the allegations in Paragraph
           14    179 of the Second Amended Complaint.
           15           180.    AT&T denies the allegations in Paragraph 180 of the Second Amended Complaint.
           16           181.    The allegations in the first sentence of Paragraph 181 are too vague for AT&T to form
           17    a belief as to the truth of those allegations and, on that basis, AT&T denies them. AT&T denies the
           18    remaining allegations in Paragraph 181 of the Second Amended Complaint.
           19           182.    AT&T notes that Paragraph 182 of the Second Amended Complaint purports to
           20    characterize AT&T’s COBC and a Consent Decree entered into by the FCC and AT&T Services, Inc.,
           21    which is not a party to this case. Those documents speak for themselves, and AT&T denies any
           22    characterization or description that is inconsistent therewith. The first and third sentences of Paragraph
           23    182 of the Second Amended Complaint contain legal conclusions to which no response is required. To
           24    the extent a response is required, AT&T denies the allegations in the first and third sentences of
           25    Paragraph 182 of the Second Amended Complaint. AT&T lacks knowledge or information sufficient
           26    to form a belief as to the truth of the allegations in the second sentence of Paragraph 182, and, on that
           27    basis, it denies them. AT&T denies the remaining allegations of Paragraph 182 of the Second Amended
           28    Complaint.

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 29 of 43 Page ID #:1258


            1           183.    The first sentence of Paragraph 183 of the Second Amended Complaint contains legal
            2    conclusions to which no response is required. To the extent a response is required, AT&T denies the
            3    allegations in the first sentence of Paragraph 183 of the Second Amended Complaint. AT&T denies
            4    the remaining allegations in Paragraph 183 of the Second Amended Complaint.
            5           184.    AT&T denies the allegations in Paragraph 184 of the Second Amended Complaint.
            6           185.    Paragraph 185 of the Second Amended Complaint contains legal conclusions to which
            7    no response is required. To the extent a response is required, AT&T denies the allegations in Paragraph
            8    185 of the Second Amended Complaint.
            9           186.    Paragraph 186 of the Second Amended Complaint contains legal conclusions to which
           10    no response is required. To the extent a response is required, AT&T denies the allegations in Paragraph
           11    186 of the Second Amended Complaint.
           12           187.    Paragraph 187 of the Second Amended Complaint contains legal conclusions to which
           13    no response is required. To the extent a response is required, AT&T repeats and reincorporates by
           14    reference each and every denial, admission, and averment set forth in the cited paragraphs of the Second
           15    Amended Complaint as though fully set forth herein, and AT&T denies the allegations in Paragraph
           16    187 of the Second Amended Complaint.
           17           188.    Paragraph 188 of the Second Amended Complaint contains legal conclusions to which
           18    no response is required. To the extent a response is required, AT&T denies the allegations in Paragraph
           19    188 of the Second Amended Complaint.
           20           189.    Because the Court dismissed Mr. Terpin’s request for punitive damages, no response is
           21    required to Paragraph 189 of the Second Amended Complaint. To the extent a response is required,
           22    AT&T denies that Mr. Terpin is entitled to any relief whatsoever and denies the allegations in
           23    Paragraph 189 of the Second Amended Complaint.
           24           190.    Because the Court dismissed Mr. Terpin’s request for punitive damages, no response is
           25    required to Paragraph 190 of the Second Amended Complaint. To the extent a response is required,
           26    AT&T denies the allegations in Paragraph 190 of the Second Amended Complaint.
           27

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 30 of 43 Page ID #:1259


            1    G.     Seventh Claim for Relief – Negligent Hiring
            2           191.    AT&T repeats and incorporates by reference each and every denial, admission, and

            3    averment set forth in Paragraphs 1 through 190 above as though fully set forth herein.

            4           192.    Paragraph 192 of the Second Amended Complaint contains legal conclusions to which

            5    no response is required. To the extent a response is required, AT&T repeats and reincorporates by

            6    reference each and every denial, admission, and averment set forth in the cited paragraphs of the Second

            7    Amended Complaint as though fully set forth herein, and AT&T denies the allegations in Paragraph

            8    192 of the Second Amended Complaint.

            9           193.    Paragraph 193 of the Second Amended Complaint contains legal conclusions to which

           10    no response is required. To the extent a response is required, AT&T denies the allegations in Paragraph

           11    193 of the Second Amended Complaint.

           12           194.    The allegations in the first sentence of Paragraph 194 are too vague for AT&T to form

           13    a belief as to the truth of those allegations and, on that basis, AT&T denies them. AT&T denies the

           14    remaining allegations in Paragraph 194 of the Second Amended Complaint.

           15           195.    AT&T notes that Paragraph 195 of the Second Amended Complaint purports to

           16    characterize AT&T’s COBC and a Consent Decree entered into by FCC and AT&T Services, Inc.,

           17    which is not a party to this case. Those documents speak for themselves, and AT&T denies any

           18    characterization or description that is inconsistent therewith. The first and fourth sentences of

           19    Paragraph 195 of the Second Amended Complaint contain legal conclusions to which no response is

           20    required. To the extent a response is required, AT&T denies the allegations in the first and fourth

           21    sentences of Paragraph 195 of the Second Amended Complaint.               AT&T lacks knowledge or

           22    information sufficient to form a belief as to the truth of the allegations in the second sentence of

           23    Paragraph 195, and, on that basis, it denies them. AT&T denies the remaining allegations of Paragraph

           24    195 of the Second Amended Complaint.

           25           196.    The first and second sentences of Paragraph 196 of the Second Amended Complaint

           26    contains legal conclusions to which no response is required. To the extent a response is required,

           27    AT&T denies the allegations in the first and second sentences of Paragraph 196 of the Second Amended

           28    Complaint. AT&T lacks knowledge or information sufficient to form a belief regarding the truth of

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 31 of 43 Page ID #:1260


            1    the allegations in the last sentence of the Second Amended Complaint and, on that basis, AT&T denies
            2    them. AT&T denies the remaining allegations in Paragraph 196 of the Second Amended Complaint.
            3           197.    AT&T denies the allegations in Paragraph 197 of the Second Amended Complaint.
            4           198.    Paragraph 198 of the Second Amended Complaint contains legal conclusions to which
            5    no response is required. To the extent a response is required, AT&T denies the allegations in Paragraph
            6    198 of the Second Amended Complaint.
            7           199.    Paragraph 199 of the Second Amended Complaint contains legal conclusions to which
            8    no response is required. To the extent a response is required, AT&T denies the allegations in Paragraph
            9    199 of the Second Amended Complaint.
           10           200.    AT&T admits that a Spring Communications Inc.-affiliated individual named Jahmil
           11    Smith accessed Mr. Terpin’s account on January 7, 2018, and completed a SIM swap. AT&T denies
           12    that Mr. Smith was an employee or agent of AT&T. AT&T lacks knowledge or information sufficient
           13    to form a belief regarding the truth of the allegations in the second sentence of Paragraph 200 of the
           14    Second Amended Complaint and, on that basis, it denies them. AT&T denies the remaining allegations
           15    in Paragraph 200 of the Second Amended Complaint.
           16           201.    Paragraph 201 of the Second Amended Complaint contains legal conclusions to which
           17    no response is required. To the extent a response is required, AT&T repeats and reincorporates by
           18    reference each and every denial, admission, and averment set forth in the cited paragraphs of the Second
           19    Amended Complaint as though fully set forth herein, and AT&T denies the remaining allegations in
           20    Paragraph 201 of the Second Amended Complaint.
           21           202.    The first sentence of Paragraph 202 of the Second Amended Complaint contains legal
           22    conclusions to which no response is required. To the extent a response is required, AT&T denies the
           23    allegations in the first sentence of Paragraph 202 of the Second Amended Complaint. AT&T denies
           24    the remaining allegations in Paragraph 202 of the Second Amended Complaint.
           25           203.    Because the Court dismissed Mr. Terpin’s request for punitive damages, no response is
           26    required to Paragraph 203 of the Second Amended Complaint. To the extent a response is required,
           27    AT&T denies that Mr. Terpin is entitled to any relief whatsoever and denies the allegations in
           28    Paragraph 203 of the Second Amended Complaint.

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 32 of 43 Page ID #:1261


            1           204.    Because the Court dismissed Mr. Terpin’s request for punitive damages, no response is
            2    required to Paragraph 204 of the Second Amended Complaint. To the extent a response is required,
            3    AT&T denies the allegations in Paragraph 204 of the Second Amended Complaint.
            4    H.     Eighth Claim for Relief – Breach of Contract – Privacy Policy
            5           205.    AT&T repeats and incorporates by reference each and every denial, admission, and
            6    averment set forth in Paragraphs 1 through 204 above as though fully set forth herein.
            7           206.    Paragraph 206 of the Second Amended Complaint contains legal conclusions to which
            8    no response is required. To the extent a response is required, AT&T denies the allegations in Paragraph
            9    206 of the Second Amended Complaint.
           10           207.    Paragraph 207 of the Second Amended Complaint contains legal conclusions to which
           11    no response is required. To the extent a response is required, AT&T notes that Paragraph 207 purports
           12    to characterize and quote from AT&T’s Privacy Policy. That document speaks for itself, and AT&T
           13    denies any characterization or description that is inconsistent therewith. AT&T denies any remaining
           14    allegations in Paragraph 207 of the Second Amended Complaint.
           15           208.    Paragraph 208 of the Second Amended Complaint contains legal conclusions to which
           16    no response is required. To the extent a response is required, AT&T notes that Paragraph 208 purports
           17    to characterize and quote from AT&T’s COBC. That document speaks for itself, and AT&T denies
           18    any characterization or description that is inconsistent therewith. AT&T denies any remaining
           19    allegations in Paragraph 208 of the Second Amended Complaint.
           20           209.    Paragraph 209 of the Second Amended Complaint contains legal conclusions to which
           21    no response is required. To the extent a response is required, AT&T denies the allegations in Paragraph
           22    209 of the Second Amended Complaint.
           23           210.    Paragraph 210 of the Second Amended Complaint contains legal conclusions to which
           24    no response is required. To the extent a response is required, AT&T denies the allegations in Paragraph
           25    210 of the Second Amended Complaint.
           26           211.    The cases and statutory sections cited in the Second Amended Complaint speak for
           27    themselves, and AT&T denies any description or characterization inconsistent therewith. Paragraph
           28    211 of the Second Amended Complaint contains legal conclusions to which no response is required.

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 33 of 43 Page ID #:1262


            1    To the extent a response is required, AT&T repeats and reincorporates by reference each and every
            2    denial, admission, and averment set forth in the cited paragraphs of the Second Amended Complaint
            3    as though fully set forth herein, and AT&T denies the remaining allegations in Paragraph 211 of the
            4    Second Amended Complaint.1
            5                           VI. Response to Allegations Styled “Prayer for Relief”
            6            212.    AT&T denies that Plaintiff is entitled to any relief, legal or equitable, from AT&T or
            7    this Court, as requested in the Second Amended Complaint or otherwise. AT&T further notes that the
            8    Court has dismissed Plaintiff’s request for punitive damages.
            9                       VII. Response to Allegations Styled “Demand for Jury Trial”
           10            Answering the unnumbered Demand for Jury Trial, AT&T admits that Plaintiff purports to
           11    demand a jury trial in this action of all issues so triable.
           12                             VIII. SEPARATE AND ADDITIONAL DEFENSES
           13            By alleging the Separate and Additional Defenses set forth below, AT&T does not assume any
           14    burden of proof that would otherwise rest with Plaintiff. Nor does AT&T intend any alteration of the
           15    burden of proof and/or burden of going forward with evidence that exists with respect to any of
           16    Plaintiff’s claims. Further, all such defenses are pleaded in the alternative and do not constitute an
           17    admission of liability or an admission that Plaintiff is entitled to any relief whatsoever. Finally, all
           18    defenses pleaded below are based on AT&T’s limited understanding of the claims being asserted by
           19    Plaintiff and AT&T’s limited investigation to date. AT&T reserves the right to assert additional
           20    affirmative defenses after they are ascertained.
           21

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                      An unnumbered paragraph appears at the top of p. 70 of the Second Amended Complaint,
                      immediately after Paragraph 211. It is not clear whether this unnumbered paragraph is a part of
           27         Paragraph 211. To the extent this unnumbered paragraph is separate from Paragraph 211, AT&T
                      denies the allegations in this unnumbered paragraph.
           28

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                                                 CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 34 of 43 Page ID #:1263


            1                            FIRST SEPARATE AND ADDITIONAL DEFENSE
            2                                           (Failure to State a Claim)
            3           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
            4    is barred to the extent it fails to allege facts sufficient to state a claim against AT&T.
            5                          SECOND SEPARATE AND ADDITIONAL DEFENSE
            6                                            (Statute of Limitations)
            7           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
            8    is barred to the extent Plaintiff is seeking relief occurring outside any applicable statutes of limitation.
            9                           THIRD SEPARATE AND ADDITIONAL DEFENSE
           10                                                   (No Breach)
           11           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           12    is barred in whole or in part because AT&T did not breach any agreement.
           13                          FOURTH SEPARATE AND ADDITIONAL DEFENSE
           14                                               (Reasonable Care)
           15           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           16    is barred because AT&T exercised reasonable care to prevent and correct any alleged unlawful conduct.
           17                            FIFTH SEPARATE AND ADDITIONAL DEFENSE
           18                                             (Contract Limitations)
           19           The Second Amended Complaint, and each purported cause of action contained therein, is
           20    barred in whole or in part to the extent that damages or Plaintiff’s requested remedies are precluded or,
           21    alternatively, limited by the terms of the contract between AT&T and Plaintiff.
           22                            SIXTH SEPARATE AND ADDITIONAL DEFENSE
           23                                             (Proximate Causation)
           24           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           25    is barred because the harm alleged by Plaintiff, if any, was not proximately caused by any unlawful
           26    policy, custom, practice, act, omission, and/or procedure promulgated and/or tolerated by AT&T.
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                                                 CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 35 of 43 Page ID #:1264


            1                         SEVENTH SEPARATE AND ADDITIONAL DEFENSE
            2                                                (No Cause in Fact)
            3           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
            4    is barred because the harms alleged by Plaintiff, if any, were not caused in fact by AT&T.
            5                          EIGHTH SEPARATE AND ADDITIONAL DEFENSE
            6                                           (Lack of Proximate Causation)
            7           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
            8    is barred because Plaintiff has not plausibly alleged, and cannot prove, that AT&T proximately caused
            9    any of Plaintiff’s alleged injuries. The harm Plaintiff allegedly suffered, if any, was caused by
           10    superseding and intervening causes including factors, persons, or entities other than AT&T.
           11                           NINTH SEPARATE AND ADDITIONAL DEFENSE
           12                                                     (Laches)
           13           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           14    is barred by the doctrine of laches.
           15                           TENTH SEPARATE AND ADDITIONAL DEFENSE
           16                                                 (Unclean Hands)
           17           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           18    is barred by the doctrine of unclean hands.
           19                        ELEVENTH SEPARATE AND ADDITIONAL DEFENSE
           20                                                    (Estoppel)
           21           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           22    is barred to the extent Plaintiff is estopped by his own conduct from recovering any relief.
           23                         TWELFTH SEPARATE AND ADDITIONAL DEFENSE
           24                                                     (Waiver)
           25           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           26    is barred to the extent Plaintiff waived or released any right to recover any relief.
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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 36 of 43 Page ID #:1265


            1                      THIRTEENTH SEPARATE AND ADDITIONAL DEFENSE
            2                                              (Lack of Damages)
            3           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
            4    is barred in whole or in part to the extent Plaintiff suffered no damages.
            5                      FOURTEENTH SEPARATE AND ADDITIONAL DEFENSE
            6                                        (Failure to Mitigate Damages)
            7           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
            8    is barred in whole or in part to the extent Plaintiff failed to mitigate his own damages or reasonably try
            9    to mitigate his own damages, if any.
           10                        FIFTEENTH SEPARATE AND ADDITIONAL DEFENSE
           11                                                   (Standing)
           12           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           13    is barred to the extent that Plaintiff lacks standing to bring some or all of the alleged causes of action
           14    against AT&T set forth in the Second Amended Complaint.
           15                       SIXTEENTH SEPARATE AND ADDITIONAL DEFENSE
           16                                             (Assumption of Risk)
           17           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           18    is barred to the extent Plaintiff had actual knowledge of the risk involved with his security and
           19    investment practices and voluntarily assumed that risk.
           20                     SEVENTEENTH SEPARATE AND ADDITIONAL DEFENSE
           21                                             (Comparative Fault)
           22           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           23    is barred in whole or in part by Plaintiff’s own negligence, carelessness, recklessness, or willful
           24    misconduct, or the intervening negligence, recklessness, or willful misconduct of third parties, for
           25    which AT&T is not liable. By reason thereof, Plaintiff’s damages, if any, as against AT&T, must be
           26    reduced by the proportion of fault attributable to such other parties.
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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 37 of 43 Page ID #:1266


            1                       EIGHTEENTH SEPARATE AND ADDITIONAL DEFENSE
            2                                            (Economic Loss Doctrine)
            3            The Second Amended Complaint, and each purported cause of action asserted against AT&T,
            4    is barred in whole or in part to the extent that it is precluded or limited by the economic loss doctrine.
            5                       NINETEENTH SEPARATE AND ADDITIONAL DEFENSE
            6                                                      (Offset)
            7            The damages sought by the Second Amended Complaint are barred, in whole or in part, to the
            8    extent that Plaintiff has received any credits, payments, or benefits arising out of or related to the claims
            9    asserted in the Second Amended Complaint. Alternatively, Plaintiff’s recovery, if any, should be offset
           10    by any credits, payments, or benefits, of any type or character, received by Plaintiff.
           11                        TWENTIETH SEPARATE AND ADDITIONAL DEFENSE
           12                       (Failure to Exhaust Internal and/or Administrative Remedies)
           13            The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           14    is barred to the extent Plaintiff failed to properly exhaust all of his internal, contractual, administrative,
           15    and/or statutorily required remedies, and such failure bars this suit in whole or in part and/or limits
           16    Plaintiff’s claims and/or Plaintiff’s recovery.
           17                      TWENTY-FIRST SEPARATE AND ADDITIONAL DEFENSE
           18                                              (Conduct Not Willful)
           19            The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           20    is barred because, at all material times, AT&T and its agents acted without malice and acted reasonably
           21    and with a good faith belief in the lawfulness of their conduct based on all relevant facts and
           22    circumstances known by them at the time they so acted. The Second Amended Complaint, and each
           23    purported cause of action asserted against AT&T, is further barred because Plaintiff cannot establish
           24    “willful or knowing” conduct, as required under some or all of Plaintiff’s causes of action.
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                                                 CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 38 of 43 Page ID #:1267


            1                   TWENTY-SECOND SEPARATE AND ADDITIONAL DEFENSE
            2                                          (Accord and Satisfaction)
            3           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
            4    is barred by the doctrine of accord and satisfaction.
            5                     TWENTY-THIRD SEPARATE AND ADDITIONAL DEFENSE
            6                                           (Compliance with Law)
            7           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
            8    is barred in whole or in part, on the grounds that AT&T complied or substantially complied with all
            9    applicable laws underlying the Second Amended Complaint, or took reasonable efforts to comply with
           10    all applicable laws.
           11                   TWENTY-FOURTH SEPARATE AND ADDITIONAL DEFENSE
           12                                             (Unjust Enrichment)
           13           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           14    is barred to the extent it constitutes unjust enrichment or duplicative relief of amounts seeking more
           15    than a single recovery.
           16                     TWENTY-FIFTH SEPARATE AND ADDITIONAL DEFENSE
           17                                      (Not Entitled to Equitable Relief)
           18           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           19    is barred because Plaintiff has adequate remedies at law and will not suffer imminent and irreparable
           20    injury or harm as a result of any action or conduct by AT&T.
           21                     TWENTY-SIXTH SEPARATE AND ADDITIONAL DEFENSE
           22                                            (Damages Speculative)
           23           Plaintiff is barred from relief because the Second Amended Complaint, and each purported
           24    cause of action asserted therein, is barred in whole or in part because, even if Plaintiff’s allegations
           25    were true, which AT&T denies, the damages alleged by Plaintiff in the Second Amended Complaint
           26    are too speculative to give rise to any of the causes of action alleged, or to permit any recovery sought,
           27    by Plaintiff in the Second Amended Complaint.
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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 39 of 43 Page ID #:1268


            1                   TWENTY-SEVENTH SEPARATE AND ADDITIONAL DEFENSE
            2                                                   (No CPNI)
            3           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
            4    is barred in whole or in part to the extent Plaintiff failed to identify that AT&T disclosed, or failed to
            5    safeguard, customer proprietary network information (CPNI) or any other statutorily defined
            6    confidential information.
            7                    TWENTY-EIGHTH SEPARATE AND ADDITIONAL DEFENSE
            8                                     (No Misrepresentation or Reliance)
            9           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           10    is barred in whole or in part to the extent Plaintiff has not plausibly alleged any false or negligent
           11    misrepresentations by AT&T, or justifiable reliance by Plaintiff.
           12                     TWENTY-NINTH SEPARATE AND ADDITIONAL DEFENSE
           13                                                 (Ratification)
           14           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           15    is barred to the extent Plaintiff ratified AT&T’s actions.
           16                        THIRTIETH SEPARATE AND ADDITIONAL DEFENSE
           17                                          (Avoidable Consequences)
           18           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           19    is barred pursuant to the avoidable consequences doctrine. If the avoidable consequences doctrine does
           20    not completely bar the Second Amended Complaint, and each purported cause of action asserted
           21    against AT&T, then any recovery by Plaintiff for allegedly stolen funds must be offset or reduced to
           22    the extent to which the avoidable consequences doctrine applies to some or all of Plaintiff’s claims in
           23    the Second Amended Complaint.
           24                      THIRTY-FIRST SEPARATE AND ADDITIONAL DEFENSE
           25                                                   (Consent)
           26           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           27    is barred to the extent Plaintiff consented to or voluntarily participated in any alleged activity or
           28    conduct.

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 40 of 43 Page ID #:1269


            1                    THIRTY-SECOND SEPARATE AND ADDITIONAL DEFENSE
            2                                 (Acting Outside the Scope of Employment)
            3           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
            4    is barred insofar as, if any manager, supervisor, agent, employee, or independent contractor of AT&T
            5    authorized, required, or requested that a SIM swap occur illegally, or took any other impermissible
            6    action (which AT&T denies), such manager, supervisor, agent, employee, or independent contractor
            7    acted outside the scope of his or her employment with AT&T and/or AT&T lacked sufficient authority
            8    to control the actions of such manager, supervisor, agent, employee, or independent contractor.
            9                      THIRTY-THIRD SEPARATE AND ADDITIONAL DEFENSE
           10                                                    (Preemption)
           11           Plaintiff is barred from litigating his claims, in whole or in part, in this court to the extent that
           12    any federal legislation preempts conflicting state law.
           13                    THIRTY-FOURTH SEPARATE AND ADDITIONAL DEFENSE
           14                                                     (Release)
           15           The Second Amended Complaint, and each purported cause of action asserted against AT&T,
           16    is barred to the extent it has been released.
           17                      THIRTY-FIFTH SEPARATE AND ADDITIONAL DEFENSE
           18                                           (No Unauthorized Access)
           19           The Plaintiff’s claim under the Computer Fraud and Abuse Act, 18 U.S.C. § 1030, is barred
           20    because AT&T did not access any computer without authorization or exceed authorized access to any
           21    computer.
           22                      THIRTY-SIXTH SEPARATE AND ADDITIONAL DEFENSE
           23                                              (No Attorneys’ Fees)
           24           Plaintiff’s request for attorneys’ fees is barred because the Second Amended Complaint fails to
           25    allege facts or any basis sufficient to support an award of attorneys’ fees.
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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 41 of 43 Page ID #:1270


            1                   THIRTY-SEVENTH SEPARATE AND ADDITIONAL DEFENSE
            2                                            (No Punitive Damages)
            3           To the extent the Court later allows a request for punitive damages, Plaintiff is barred from
            4    relief because the Second Amended Complaint, and each purported cause of action against AT&T, fails
            5    to allege facts sufficient to allow recovery of punitive or exemplary damages from AT&T. Punitive
            6    damages are also barred to the extent they are unconstitutional.
            7                    THIRTY-EIGHTH SEPARATE AND ADDITIONAL DEFENSE
            8                                    (No Punitive Damages - Due Process)
            9           To the extent the Court later allows a request for punitive damages, the imposition of punitive
           10    damages in this case would violate the Due Process Clause of the Fifth and Fourteenth Amendments
           11    to the United States Constitution because, as applied to this case, the standards of liability for punitive
           12    damages in California are unduly vague and subjective, and permit retroactive, random, arbitrary, and
           13    capricious punishment that serves no legitimate governmental interest.
           14                     THIRTY-NINTH SEPARATE AND ADDITIONAL DEFENSE
           15                                    (No Punitive Damages - Due Process)
           16           To the extent the Court later allows a request for punitive damages, the imposition of punitive
           17    damages in this case would violate the Due Process Clause of the Fifth and Fourteenth Amendments
           18    to the United States Constitution because, as applied to this case, the California standards for
           19    determining the amount of the award are unduly vague and subjective, lack sufficient procedural
           20    safeguards, and permit arbitrary, capricious, excessive, and disproportionate punishment that serves no
           21    legitimate governmental interest.
           22                        FORTIETH SEPARATE AND ADDITIONAL DEFENSE
           23                                   (No Punitive and Exemplary Damages)
           24           To the extent the Court later allows a request for punitive damages, the penalties, fines, and
           25    punitive and exemplary damages sought are unconstitutional and excessive under California law and
           26    the United States Constitution, including without limitation under the Excessive Fines Clause of the
           27    Eighth Amendment of the United States Constitution, and the Due Process Clauses of the Fifth and
           28    Fourteenth Amendments of the United States Constitution.

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                                                CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 42 of 43 Page ID #:1271


            1                       FORTY-FIRST SEPARATE AND ADDITIONAL DEFENSE
            2                                   (No Punitive Damages - Due Process)
            3           To the extent the Court later allows a request for punitive damages, the imposition of punitive
            4    damages in this case would violate the Due Process Clause of the Fifth and Fourteenth Amendments
            5    to the United States Constitution because California post-verdict standards for scrutinizing punitive
            6    damage verdicts do not provide a meaningful constraint on the discretion of juries to impose
            7    punishment.
            8                     FORTY-SECOND SEPARATE AND ADDITIONAL DEFENSE
            9                                   (No Punitive Damages - Due Process)
           10           To the extent the Court later allows a request for punitive damages, the imposition of punitive
           11    damages in this case based on the out-of-state conduct, profits, aggregate wealth or financial status of
           12    AT&T would violate the Commerce Clause, the Due Process clause of the Fifth Amendment to the
           13    United States Constitution, and the Equal Protection and Due Process Clauses of the Fourteenth
           14    Amendment to the United States Constitution.
           15                      FORTY-THIRD SEPARATE AND ADDITIONAL DEFENSE
           16                                   (No Punitive Damages - Due Process)
           17           To the extent the Court later allows a request for punitive damages, the imposition of punitive
           18    damages in this case in the absence of a showing of malicious intent to cause harm to Plaintiff would
           19    violate the Due Process Clause of the Fifth and Fourteenth Amendments to the United States
           20    Constitution.
           21                                       RESERVATION OF RIGHTS
           22           AT&T has insufficient knowledge or information upon which to form a basis as to whether it
           23    may have additional, as yet unstated, separate defenses available. AT&T has not knowingly or
           24    intentionally waived any applicable separate and additional or affirmative defenses and reserves the
           25    right to raise additional separate and additional or affirmative defenses as they become known to it
           26    through discovery in this matter. AT&T further reserves the right to amend its answer and/or its
           27    separate and additional or affirmative defenses accordingly and/or to delete separate and additional or
           28    affirmative defenses that it determines are not applicable during the course of subsequent discovery.

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                                                  CASE NO. 2:18-CV-6975 (ODW)
         Case 2:18-cv-06975-ODW-KS Document 50 Filed 09/22/20 Page 43 of 43 Page ID #:1272


            1                                          PRAYER FOR RELIEF
            2             WHEREFORE, AT&T prays for judgment as follows:
            3             1.    That Plaintiff take nothing by the Second Amended Complaint;
            4             2.    That the Second Amended Complaint be dismissed in its entirety and with prejudice;
            5             3.    For judgment to be entered favor of AT&T and against Plaintiff on all claims
            6             contained in the Second Amended Complaint;
            7             4.    For costs of suit herein and attorneys’ fees as permitted by law; and
            8             5.    For such other and further relief as the Court may deem proper and just.
            9

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           12    Dated: September 22, 2020
           13                                                 MARCELLUS MCRAE
                                                              ASHLEY E. JOHNSON
           14                                                 GIBSON, DUNN & CRUTCHER LLP
           15

           16                                                 By: /s/ Marcellus McRae
                                                                  Marcellus McRae
           17                                                     Ashley E. Johnson
           18                                                 Attorneys for Defendant AT&T MOBILITY, LLC
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                                                 CASE NO. 2:18-CV-6975 (ODW)
